            Case 1:24-mc-00353-LJL                Document 91                Filed 11/06/24          Page 1 of 5




                                                                                                                  787 Seventh Avenue
                                                                                                                  New York, NY 10019-6099
                                                                                                                  Tel: 212 728 8000
                                                                                                                  Fax: 212 728 8111



                                                                  November 6, 2024

VIA ECF

Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Freeman et al. v. Giuliani, No. 24-mc-353 (LJL)

Dear Judge Liman:

        Plaintiffs and Receivers Ruby Freeman and Wandrea’ Moss (“Plaintiffs”) respectfully submit
this update to their prior reports (ECF No. 81, 85) regarding the status of Defendant’s compliance with
the October 22, 2024 Turnover and Receivership Order (ECF No. 62) (the “Order”), and in response to
Defendant’s letter filed earlier today (ECF No. 88). Below, Plaintiffs also provide two updates regarding
Mr. Giuliani’s response to Plaintiffs’ information subpoena.

       I.      The Turnover and Receivership Order.

        Mr. Giuliani is subject to clear and unambiguous court orders that, among other things, require
him to deliver the receivership property to Plaintiffs-Receivers, forbid him from diverting or concealing
that property, and require him and his agents to comply with the Plaintiffs-Receivers’ directives under
the Order. Mr. Giuliani has not complied with those orders to date, and all indications are that he is not
diligently attempting to comply in a reasonable manner.

        The Court’s Order provides that “Defendant shall deliver to Plaintiffs-Receivers, and execute
and deliver any document necessary to effectuate delivery to Plaintiffs-Receivers of, all of the
Receivership Property” enumerated in the Order. ECF No. 62, at 16 ¶ 2 (emphases added). In addition,
the Order appoints Plaintiffs as receivers of that enumerated property, id. at 16 ¶ 1, and provides that
“Defendant, his agents, employees, and those acting in concert with him shall comply with directives of
the Receivers issued pursuant to this Order,” including by delivering “all documents necessary for the
Receivers to take possession of all Receivership Property,” and to turn over “any and all Documents . . .
relating to or evidencing Defendant’s real and personal property,” including “electronically stored
information.” Id. at 21 ¶ 4(f). The Order also provides that Mr. Giuliani is forbidden from “disposing of
any . . . property except to transfer such property to the Receivers,” from “diverting, concealing,
encumbering, or transferring any personal property,” and from “interfering in any manner with the
discharge of the Receivers’ duties under” the Order. Id. at 21 ¶ 4(e)




                B RUSSELS   C HICAGO   D ALLAS   F RANKFURT       H OUSTON    L ONDON    L OS A NGELES   M ILAN
                   M UNICH    N EW Y ORK   P ALO A LTO   P ARIS    R OME     S AN F RANCISCO   W ASHINGTON
            Case 1:24-mc-00353-LJL              Document 91          Filed 11/06/24        Page 2 of 5

November 6, 2024
Page 2


        It has now been over a week since Mr. Giuliani represented to the Court (as he had represented
to Plaintiffs) that he was “ready to make the turnovers.” ECF No. 68. Mr. Giuliani represented that
personal property was “being held for delivery wherever Plaintiffs request and/or to whomever Plaintiffs
identify.” Id. Mr. Giuliani “assure[d] the Court that Defendant is, and will remain, ready to comply.” Id.

        In light of recent events, it is impossible to fathom how those representations were true. As set
forth in the correspondence already filed at ECF No. 81-1, Plaintiffs have made direct requests to Mr.
Giuliani to identify the location of all receivership property, including and particularly the property that
Mr. Giuliani moved out of his New York Apartment.

        Since Plaintiffs’ initial court-ordered status report was filed on November 4, 2024, Plaintiffs have
received no further communications from Defendant’s counsel in response to the inquiries set forth in
the correspondence filed at ECF No. 81-1. Instead, Mr. Giuliani has filed a new letter attempting to
defend his conduct thus far. ECF No. 88. His letter only confirms that Mr. Giuliani is not engaged in a
diligent attempt to comply with the Court’s orders.

         As Plaintiffs-Receivers reported to the Court in their letter at ECF No. 81, Mr. Giuliani moved
substantially all of his personal property out of the New York Apartment, apparently within the last few
weeks, a fact he conveniently did not mention to Plaintiffs or the Court. Mr. Giuliani continues to
characterize these events as Plaintiffs’ mere “conten[tions].” ECF No. 88. But the fact Mr. Giuliani
emptied the New York Apartment of its valuable receivership property is not just a“contention,” as
illustrated by the photographic comparison attached hereto as Exhibit A.1 In any event, it is Mr. Giuliani,
not Plaintiffs, who possesses all relevant facts about the former contents of his New York Apartment.
Nonetheless, Mr. Giuliani’s counsel have repeatedly ignored direct questions from Plaintiffs-Receivers’
counsel asking when property was moved out of the New York Apartment, where it was taken, and under
what conditions it is being held. See ECF No. 81-1. Mr. Giuliani’s latest letter continues to avoid
providing any direct answers to those questions.

        Indeed, the only direct factual statements contained in Mr. Giuliani’s letter about the location of
any movable property relate to still unspecified property held at the storage facility—Mr. Giuliani refuses
to say what—and “the wristwatches,” without specifying which of the many wristwatches subject to the
Receivership Order. Further, Mr. Giuliani’s statement that “the wristwatches” constitute a “substantial
portion of the assets listed in the” Turnover and Receivership Order, ECF No. 88 at 2, is risible. The
Receivership Order covered numerous items of art, sports memorabilia, furniture, jewelry, and other
movable property. Mr. Giuliani has refused even to identify those items with any particularity or state
where those items are. For example, photographic evidence shows that Mr. Giuliani’s Joe DiMaggio
jersey recently hung in his New York Apartment, but no longer does. Exhibit A. Mr. Giuliani has yet to
say where it went.

        Elsewhere, Mr. Giuliani’s counsel is full of suggestions about how Plaintiffs should proceed
against the Mercedes-Benz, against the New York co-op, and against the cash accounts. Some of those
proposals appear to have been invented out of thin air, no more than an empty gesture of cooperation.

1
 Exhibit A is a sample comparison of one photograph from the former listing of the New York Apartment, alongside a
photograph taken by Plaintiffs-Receivers’ counsel of the same room on October 31, 2024.
             Case 1:24-mc-00353-LJL                 Document 91            Filed 11/06/24         Page 3 of 5

November 6, 2024
Page 3


For example, Mr. Giuliani asks that Plaintiffs send him legal documents to transfer title to the
automobile, which is registered in Florida. Had Mr. Giuliani or his counsel so much as Googled this
issue, they would have learned that in Florida paper titles are transferred by the owner signing the front
of the title certificate, while electronic titles must be reassigned in person at a motor vehicle service
center.2 It so happens that Mr. Giuliani has filed a copy of his vehicle registration at ECF No. 42-5 in
No. 24-cv-6563; entering the title number shown on that registration document into the Florida HSMV
website shows that the title in question is, indeed, a “paper title.”3 Apparently, neither Mr. Giuliani nor
his counsel have bothered to investigate how to comply with the Court’s order in this regard.4

        Similarly, with respect to the cash accounts held at Citibank, Mr. Giuliani’s position is,
apparently, that Plaintiffs should go facilitate the turnover without his help. ECF No. 88 at 3. That is not
how a turnover order works. The Court’s order obligates Mr. Giuliani to deliver the funds, which both
Mr. Giuliani and any third-party garnishee are permitted do under the express terms of the restraining
notice. See CPLR § 5222(b) (permitting transfer of restrained property “pursuant to an order of the
court”). Mr. Giuliani speculates that were he to ask, Citibank would not release the funds, but does not
suggest that he has even tried that initial step to comply with the Court’s order.

        With respect to the storage facility in Ronkonkoma, Mr. Giuliani protests that he does not control
the facility and should not be held responsible for whether Plaintiffs can access its contents. ECF No.
88, at 2. Mr. Giuliani is correct that Plaintiffs have article 52 remedies against the facility and its
operators as a garnishee. However, his suggestion that Plaintiffs rush to obtain a coercive order against
a third party without first attempting a consensual resolution is unhelpful. Plaintiffs will seek such relief
as is necessary and appropriate, but regardless, Plaintiffs’ conduct towards a third-party custodian of
Mr. Giuliani’s property does not relieve Mr. Giuliani of his independent obligations.

        Since “assur[ing]” the Court that he was “ready to comply” with the Turnover and Receivership
Order, Mr. Giuliani has consistently resisted or ignored Plaintiffs’ directives to provide information
about the location of the receivership property, notwithstanding his clear and unambiguous obligation to
comply. See ECF No. 62, at ¶ 4(e), (f). Now, Mr. Giuliani’s counsel reports for the first time that Mr.
Giuliani “cannot provide, from memory or records, and inventory” of items subject to the receivership
order and their locations. ECF No. 88, at 3. That is a stunning claim. The list of property enumerated in
the Turnover and Receivership Order was generated from Mr. Giuliani’s own sworn disclosures in his
chapter 11 case, filed earlier this year. What was the basis for those sworn disclosures if not Mr.
Giuliani’s own records or personal knowledge? And setting that aside, Does Mr. Giuliani not recall
where the contents of his New York Apartment were taken a few weeks ago? Does he not know or recall
what property is located in the Palm Beach Condo, where he is currently staying? These are not


2
  https://www.flhsmv.gov/safety-center/consumer-education/buying-vehicle-florida/buying-private-sale/.
3
  https://services.flhsmv.gov/MVCheckWeb/en/Home/Check?vehicleNumber=238774338.
4
  Mr. Giuliani’s vehicle registration and the information in the Florida HSMV database also show that before transferring
title to Plaintiffs, Mr. Giuliani must address a similar problem with his co-op shares, namely that his Mercedes is still listed
in the name of both himself and Judith Giuliani despite Mr. Giuliani having received full ownership in the car under his
divorce decree—yet another reason that Mr. Giuliani’s proposals with respect to the car do not reflect a good-faith effort on
his part to comply with the Court’s orders.
              Case 1:24-mc-00353-LJL              Document 91           Filed 11/06/24         Page 4 of 5

November 6, 2024
Page 4


complicated questions, and Mr. Giuliani is subject to a clear and unambiguous court order requiring him
to answer them. He has not done so.

        Mr. Giuliani derides Plaintiffs “focus” on “demanding information” before “obtaining assets,”
but that is the necessary sequence in this situation, which requires Plaintiffs to know what the
receivership property is and where it is located before they can take it into custody, as illustrated by
Plaintiffs-Receivers’ experience in the New York Apartment. ECF No. 88, at 3. Perhaps Plaintiffs could
proceed differently if Mr. Giuliani had been truthful in his representation that the receivership property
was “being held for delivery wherever Plaintiffs request and/or to whomever Plaintiffs identify”—an
offer that has since seemingly evaporated. ECF No. 68. Still, if Mr. Giuliani would genuinely prefer that
Plaintiffs take a seize-first, ask-questions-later approach to the receivership property, that would entail
Plaintiffs seending moving trucks both the Ronkonkoma storage facility and the Palm Beach Condo and
having movers remove all the property therein that is not obviously exempt from execution on its face.
If that is really what Mr. Giuliani thinks should occur here, he should consent to any court order
necessary to clarify the Receivers’ authority to carry out that procedure.

         Finally, Mr. Giuliani accuses Plaintiffs’ counsel of “scoop[ing] the court” by “leaking case
materials to the media.” ECF No. 88 at 4. Mr. Giuliani’s evidence for this is that a reporter sent Mr.
Giuliani a copy of a ECF No. 81 on “Monday night” without a docket stamp. Id. Notably, Mr. Giuliani
does not allege any fact indicating that this occurred before ECF No. 81 was publicly filed, or any fact
that can support his inference that Plaintiffs or their counsel provided any such document to a reporter.
Plaintiffs have not been able to discover how an unstamped copy of ECF No. 81 found its way to Mr.
Giuliani’s counsel and have no reason to think it came from Plaintiffs. Plaintiffs’ counsel do regularly
respond to media inquiries about this matter by sharing public filings or directing reporters to the public
docket, where (of course) members of the public can obtain such documents once they are filed. In any
event, nothing Mr. Giuliani has alleged could plausibly warrant any court-ordered restriction on
Plaintiffs or their counsel from communicating with the media: as Mr. Giuliani concedes, there is nothing
inappropriate about “voluntary responses to media inquiries,” and indeed Mr. Giuliani has been happy
to try this case through the press when it suits him.5

        II.      The Information Subpoena Issued to Mr. Giuliani.

        Finally, Plaintiffs must briefly address two issues arising out of Mr. Giuliani’s belated response
to the information subpoena served on him in August. Mr. Giuliani served his response on November 5,
2024, attached hereto as Exhibit B. The responses are deficient in many obvious ways, but two items
leap out as especially troubling. In those responses, for the first time, Mr. Giuliani has disclosed that in
“approximately July 2024,” (i.e., while his bankruptcy case was still pending), he established (at least)

5
  See, e.g., Rudy Giuliani misses deadline to turn over assets in defamation judgment, CBS NEWS (November 5, 2024)
(https://www.cbsnews.com/miami/news/rudy-giuliani-ordered-court-missing-deadline-turn-over-assets/ (Mr. Giuliani’s
spokesperson accusing Plaintiffs’ counsel of “acting either negligently or deliberately in a deceptive manner” and
“attempting to . . . bully and intimidate” Mr. Giuliani); Katelyn Polantz, Judge to determine whether Rudy Giuliani must
turn over his $3.5 million Florida condo to the election workers he defamed, CNN (Oct. 28, 2024),
https://www.cnn.com/2024/10/28/politics/rudy-giuliani-florida-condo-defamation-lawsuit/index.html (Mr. Giuliani’s
counsel previewing his factual claims in the homestead case to a reporter outside of court);
          Case 1:24-mc-00353-LJL          Document 91        Filed 11/06/24     Page 5 of 5

November 6, 2024
Page 5


three new bank accounts at Bellwether Community Credit Union, a credit union headquartered in
Manchester, New Hampshire. Exhibit B, at 2-3. The total disclosed balance on those accounts is
approximately $40,000. Where those funds came from, and how they are used, is not addressed in the
information subpoena responses.

       In addition, the responses disclose that on August 30, 2024, Mr. Giuliani—together with Ted
Goodman and Maria Ryan—formed a new limited liability company, “Standard USA LLC.” Id. at 4.
Mr. Giuliani apparently has an 88% ownership interest in the company, whose purpose and activities
remain a mystery.

       Although Mr. Giuliani has not disclosed anything else in relation to these two new pieces of
information, these revelations suggest that Mr. Giuliani has again constructed a scheme to route funds
in a manner that he believes can render them unavailable to his creditors, while still benefiting from
those funds. See ECF No. 50, at 8-9 (describing a similar scheme with respect to Giuliani
Communications, LLC). Needless to say, these revelations are highly concerning. It appears that during
the same three months he was ignoring Plaintiffs’ information subpoena, Mr. Giuliani was operating a
newly formed and undisclosed LLC to conceal funds from his creditors.

       Plaintiffs will be prepared to discuss these matters further at tomorrow’s conference.

                                                    Respectfully submitted,

                                                    s/ Aaron E. Nathan
